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 4
      Attorney for Defendant
 5    WINNIE CHEN
 6
 7                                IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,
11                                                      2:10-CR-00427-KJM
                     Plaintiff,
12
     v.
13                                                      STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE
14 WINNIE CHEN, et al.,
15                   Defendants.

16
17
18                                              STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20 Attorney Todd Leras, defendant, Anita Chu, by and through her counsel, Dwight Samuel, defendant,
21 Cuong Cach, by and through his counsel, Michael Long, defendant, Nhat Hoang, by and through her
22 counsel, David Fischer, defendant, Washing Chen, by and through his counsel, Carl Larson, and
23 defendant Winnie Chen, by and through her counsel, Erin J. Radekin, agree and stipulate to vacate
24 the date set for status conference, February 3, 2011 at 10:00 a.m., and to continue the status
25 conference to March 31, 2011 at 10:00 a.m. in the courtroom of the Honorable Kimberly J. Mueller.
26          The reason for this request is that all above-named defense counsel need additional time to
27 review discovery, conduct investigation, and/or engage in other defense preparation. The Court is
28 advised that Mr. Leras concurs with this request and that he and all defense counsel named above
     have authorized Ms. Radekin to sign this stipulation on their behalf.
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 1          The parties further agree and stipulate that the time period from the filing of this stipulation
 2 until March 31, 2011 should be excluded in computing time for commencement of trial under the
 3 Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 4 Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 5 preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 6 outweigh the best interests of the public and the defendant in a speedy trial.
 7          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 8 IT IS SO STIPULATED
 9
     Dated: February 1, 2011                                BENJAMIN WAGNER
10                                                          United States Attorney
11                                                    By:          /s/ Todd Leras
                                                            TODD LERAS
12                                                          Assistant United States Attorney
13
     Dated: February 1, 2011                                      /s/ Dwight Samuel
14                                                          DWIGHT SAMUEL
                                                            Attorney for Defendant
15                                                          ANITA CHU
16
     Dated: February 1, 2011                                      /s/ Michael Long
17                                                          MICHAEL LONG
                                                            Attorney for Defendant
18                                                          CUONG CACH
19
     Dated: February 1, 2011                                      /s/ David Fischer
20                                                          DAVID FISCHER
                                                            Attorney for Defendant
21                                                          NHAT HOANG
22
     Dated: February 1, 2011                                      /s/ Carl Larson
23                                                          CARL LARSON
                                                            Attorney for Defendant
24                                                          WASHING CHEN
25
     Dated: February 1, 2011                                      /s/ Erin J. Radekin
26                                                          ERIN J. RADEKIN
                                                            Attorney for Defendant
27                                                          WINNIE CHEN
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 1                                                  ORDER
 2         For the reasons set forth in the accompanying stipulation and declaration of counsel, the status
 3 conference of February 3, 2011 at 10:00 a.m. is VACATED and the above-captioned matter is set for
 4 status conference on March 31, 2011 at 10:00 a.m. The court finds excludable time in this matter
 5 through March 31, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity
 6 of counsel and to allow reasonable time necessary for effective defense preparation. For the reasons
 7 stipulated by the parties, the Court finds that the interest of justice served by granting the request
 8 outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(7)(A),
 9 (h)(7)(B)(iv).
10 IT IS SO ORDERED.
11 Dated: February 3, 2011.
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13                                                             UNITED STATES DISTRICT JUDGE

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